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                   UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,               Case No. 2:11-cr-00295-08

            Plaintiff,                  ORDER FOR RELEASE OF PERSON
     v.                                 IN CUSTODY

OLGA NEKRASOVA,

          Defendant.
___________________________/

TO: THE UNITED STATES MARSHAL SERVICE.

     This is to authorize and direct you to release OLGA NEKRASOVA,

Case No. 2:11-cr-00295-08, from custody for the following reasons:

             X           Release on Personal Recognizance

                         Bail Posted in the Sum of $

                         Unsecured Appearance Bond

            ____         Appearance Bond with 10% Deposit

                         Appearance Bond with Surety

            ____         Corporate Surety Bail Bond

                         (Other):



     Issued in Sacramento, California on December 1, 2011 at

9:50 a.m.

                                        Dated: December 1, 2011


                                        ____________________________
                                        MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
